800 F.2d 1137
    North River Insurance Company, Transit Casualty Company,Employers Insurance of Wausau, Aetna Casualty &amp; SuretyCompany, American Centennial Insurance Company, GraniteState Insurance Company, First State Insurance Company,Northbrook Excess &amp; Surplus Insurance Company, Affiliated FMInsurance Companyv.Johnson &amp; Higgins, J. &amp; H., Ltd.
    NO. 85-5688
    United States Court of Appeals,Third Circuit.
    JUN 12, 1986
    
      Appeal From:  D.N.J.,
      Lacey, J.
    
    
      1
      AFFIRMED.
    
    